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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS




NUANCE COMMUNICATIONS, INC.,

                  Plaintiff,

                                                 Case No. 1:19-CV-11438-MBB
       v.
                                                 JURY TRIAL DEMANDED
OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

                  Defendant



     DEFENDANT OMILIA NATURAL LANGUAGE SOLUTIONS, LTD.’S
          ANSWER TO COMPLAINT AND COUNTERCLAIMS

       Defendant Omilia Natural Language Solutions, Ltd. (“Omilia NLS” or

“Defendant”), hereby responds to the allegations of Nuance Communications, Inc.’s

(“Nuance” or “Plaintiff”) Complaint. Omilia NLS hereby reserves all rights with respect

to its pending Motion to Dismiss (ECF No. 14).

                               NATURE OF THE ACTION

       1.     Omilia NLS admits that the Complaint purports to allege an action under

the patent laws of the United States, 35 U.S.C. § 271 et seq. Except as expressly

admitted herein, Omilia NLS denies the allegations in Paragraph 1 of the Complaint.

       2.     Omilia NLS admits it previously licensed some of Nuance’s speech

verification and recognition software products outside the United States.   Omilia NLS

denies the remaining allegations in Paragraph 2 of the Complaint.
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                                        PARTIES

       3.      Omilia NLS is without knowledge or information as to the allegations in

Paragraph 3 of the Complaint, and therefore denies them.

       4.      Omilia NLS admits it is a foreign entity formed under the laws of the

country of Cyprus with a principal place of business in the country of Cyprus at

Gladstonos 55, Roussos Center Point, Office 3C-3D, 3040 Limassol. Except as expressly

admitted herein, Omilia NLS denies the allegations in Paragraph 4 of the Complaint.

                            JURISDICTION AND VENUE

       5.      Omilia NLS admits that the Complaint purports to allege an action under

the patent laws of the United States, 35 U.S.C. § 1 et seq. Omilia NLS further admits that

this Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       6.      Omilia NLS denies that it is subject to personal jurisdiction in this District.

Omilia NLS further denies that it has committed any act of infringement and denies all

remaining allegations of Paragraph 6 of the Complaint.

       7.      Omilia NLS denies that it is subject to personal jurisdiction in this District.

Omilia NLS further denies that it has committed any act of infringement and denies all

remaining allegations of Paragraph 7 of the Complaint.

       8.      Omilia NLS denies that it is subject to personal jurisdiction in this District.

Omilia NLS further denies that it has committed any act of infringement and denies all

remaining allegations of Paragraph 8 of the Complaint.

       9.      Omilia NLS denies that it is subject to personal jurisdiction in this District.

Omilia NLS further denies that it has committed any act of infringement and denies all

remaining allegations of Paragraph 9 of the Complaint.

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       10.     Omilia NLS denies that it is subject to suit in this District under 28 U.S.C.

§ 1391(c)(3), as set forth in its motion to dismiss for lack of personal jurisdiction. Except

as expressly admitted herein, Omilia NLS denies that it has committed any act of

infringement and denies all remaining allegations of Paragraph 10 of the Complaint.

                                          FACTS

                                  The Asserted Patents

       11.     Omilia NLS admits the ’905 Patent, on its face, is entitled, “In-the-field

adaptation of a large vocabulary automatic speech recognizer (ASR)” and it purports to

have been issued on March 17, 2009. Omilia NLS admits that what appears to be a copy

of the ’905 Patent is attached as Exhibit A. Except as expressly admitted herein, Omilia

NLS lacks sufficient information to form a belief about the truth of the remaining

allegations in Paragraph 11 and therefore denies them.

       12.     Omilia NLS admits the ’993 Patent, on its face, is entitled, “Speech

recognition based on pronunciation modeling” and it purports to have been issued on

September 10, 2013.     Omilia NLS admits that what appears to be a copy of the ’993

Patent is attached as Exhibit B. Except as expressly admitted herein, Omilia NLS lacks

sufficient information to form a belief about the truth of the remaining allegations in

Paragraph 12 and therefore denies them.

       13.     Omilia NLS admits the ’839 Patent, on its face, is entitled, “Using an

automated speech application environment to automatically provide text exchange

services” and it purports to have been issued on September 27, 2011.           Omilia NLS

admits that what appears to be a copy of the ’839 Patent is attached as Exhibit C. Except



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as expressly admitted herein, Omilia NLS lacks sufficient information to form a belief

about the truth of the remaining allegations in Paragraph 13 and therefore denies them.

       14.     Omilia NLS admits the ’534 Patent, on its face, is entitled, “Dynamically

extending the speech prompts of a multimodal application” and it purports to have been

issued on August 27, 2013.    Omilia NLS admits that what appears to be a copy of the

’534 Patent is attached as Exhibit D. Except as expressly admitted herein, Omilia NLS

lacks sufficient information to form a belief about the truth of the remaining allegations

in Paragraph 14 and therefore denies them.

       15.     Omilia NLS admits the ’804 Patent, on its face, is entitled, “Using a

complex events processor (CEP) to direct the handling of individual call sessions by an

interactive voice response (IVR) system” and it purports to have been issued on February

19, 2013.    Omilia NLS admits that what appears to be a copy of the ’804 Patent is

attached as Exhibit E. Except as expressly admitted herein, Omilia NLS lacks sufficient

information to form a belief about the truth of the remaining allegations in Paragraph 15

and therefore denies them.

       16.     Omilia NLS admits the ’532 Patent, on its face, is entitled, “Supporting

multi-lingual user interaction with a multimodal application” and it purports to have been

issued on December 9, 2014. Omilia NLS admits that what appears to be a copy of the

’532 Patent is attached as Exhibit F. Except as expressly admitted herein, Omilia NLS

lacks sufficient information to form a belief about the truth of the remaining allegations

in Paragraph 16 and therefore denies them.

       17.     Omilia NLS admits the ’688 Patent, on its face, is entitled, “Multi-lingual

speech recognition with cross-language context modeling” and it purports to have been

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issued on December 12, 2006. Omilia NLS admits that what appears to be a copy of the

’688 Patent is attached as Exhibit G. Except as expressly admitted herein, Omilia NLS

lacks sufficient information to form a belief about the truth of the remaining allegations

in Paragraph 17 and therefore denies them.

       18.     Omilia NLS admits the ’925 Patent, on its face, is entitled, “Method and

apparatus for phonetic context adaptation for improved speech recognition” and it

purports to have been issued on February 14, 2006.        Omilia NLS admits that what

appears to be a copy of the ’925 Patent is attached as Exhibit H. Except as expressly

admitted herein, Omilia NLS lacks sufficient information to form a belief about the truth

of the remaining allegations in Paragraph 18 and therefore denies them.

               OMILIA NLS’ ALLEGED INFRINGING CONDUCT

       19.     Omilia NLS denies the allegations in Paragraph 19 of the Complaint.

       20.     Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company.      To the extent Nuance characterizes the statements

contained on Omilia NLS’ website, the statements on the website speak for themselves.

Except as expressly admitted herein, Omilia NLS denies the allegations in Paragraph 20

of the Complaint.

       21.     Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company.      To the extent Nuance characterizes the statements

contained on Omilia NLS’ website, the statements on the website speak for themselves.

Except as expressly admitted herein, Omilia NLS denies the allegations in Paragraph 21

of the Complaint.



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       22.    Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company.     To the extent Nuance characterizes the statements

contained on Omilia NLS’ website, the statements on the website speak for themselves.

Except as expressly admitted herein, Omilia NLS denies the allegations in Paragraph 22

of the Complaint.

       23.    Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company.     To the extent Nuance characterizes the statements

contained on Omilia NLS’ website, the statements on the website speak for themselves.

Except as expressly admitted herein, Omilia NLS denies the allegations in Paragraph 23

of the Complaint.

       24.    Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company.     To the extent Nuance characterizes the statements

contained on Omilia NLS’ website, the statements on the website speak for themselves.

Except as expressly admitted herein, Omilia NLS denies the allegations in Paragraph 24

of the Complaint.

       25.    Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company.     To the extent Nuance characterizes the statements

contained on Omilia NLS’ website, the statements on the website speak for themselves.

Except as expressly admitted herein, Omilia NLS denies the allegations in Paragraph 25

of the Complaint.

       26.    Omilia NLS denies the allegations in Paragraph 26 of the Complaint.

       27.    Omilia NLS admits it received a letter from Nuance on or around October

9, 2018. Omilia NLS admits it sent a response letter to Nuance on or about October 22,

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2018. Omilia NLS admits it sent additional correspondence to Nuance on February 12,

2019, and March 12, 2019. Omilia NLS admits it received correspondence from Nuance

on or about March 15, 2019. The content of the letters and correspondence speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 27 of the Complaint.

          28.   Omilia NLS admits it was aware of the ’839, ’534, ’532, ’688, and ’925

Patents upon the filing of the Complaint.

          29.   Omilia NLS denies the allegations in Paragraph 29 of the Complaint.

          30.   Omilia NLS denies the allegations in Paragraph 30 of the Complaint.

           COUNT I: ALLEGED INFRINGEMENT OF THE ’905 PATENT
                          UNDER 35 U.S.C. § 271

          31.   Omilia NLS hereby incorporates by reference its responses to Paragraphs

1-30 of the Complaint as set forth above.

          32.   Omilia NLS denies the allegations in Paragraph 32 of the Complaint.

          33.   Omilia NLS admits Paragraph 33 purports to cite Claim 1 of the ’905

Patent.    Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 33 of the Complaint.

          34.   Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company.       To the extent Nuance characterizes the statements

contained on Omilia NLS’ website, the statements on the website speak for themselves.

Except as expressly admitted herein, Omilia NLS denies the allegations in Paragraph 34

of the Complaint.

          35.   Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company.       To the extent Nuance characterizes the statements
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contained on Omilia NLS’ website, the statements on the website speak for themselves.

Except as expressly admitted herein, Omilia NLS denies the allegations in Paragraph 35

of the Complaint.

       36.     Omilia NLS denies the allegations in Paragraph 36 of the Complaint.

       37.     Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company.      To the extent Nuance characterizes the statements

contained on Omilia NLS’ website, the statements on the website speak for themselves.

Except as expressly admitted herein, Omilia NLS denies the allegations in Paragraph 37

of the complaint.

       38.     Omilia NLS denies the allegations in Paragraph 38 of the Complaint.

       39.     Omilia NLS denies the allegations in Paragraph 39 of the Complaint.

       40.     Omilia NLS denies the allegations in Paragraph 40 of the Complaint.

       41.     Omilia NLS admits it received correspondence from Nuance on or around

October 9, 2018. The correspondence speaks for itself. Omilia NLS admits it maintains

a website at omilia.com that contains statements about the company. To the extent

Nuance characterizes the statements contained on Omilia NLS’ website, the statements

on the website speak for themselves. Except as expressly admitted herein, Omilia NLS

denies the allegations in Paragraph 41 of the Complaint.

       42.     Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company.      To the extent Nuance characterizes the statements

contained on Omilia NLS’ website, the statements on the website speak for themselves.

Except as expressly admitted herein, Omilia NLS denies the allegations in Paragraph 42

of the Complaint.

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          43.   Omilia NLS admits it received correspondence from Nuance on or around

October 9, 2018. The correspondence speaks for itself. Except as expressly admitted

herein, Omilia NLS denies the allegations in Paragraph 43 of the Complaint.

          44.   Omilia NLS denies the allegations in Paragraph 44 of the Complaint.

          45.   Omilia NLS denies the allegations in Paragraph 45 of the Complaint.

          46.   Omilia NLS denies the allegations in Paragraph 46 of the Complaint and

denies that Plaintiff is entitled to any of the relief requested in Paragraph 46.

          47.   Omilia NLS denies the allegations in Paragraph 47 of the Complaint and

denies that Plaintiff is entitled to any of the relief requested in Paragraph 47.

                COUNT II: INFRINGEMENT OF THE ’993 PATENT
                             UNDER 35 U.S.C. § 271

          48.   Omilia NLS hereby incorporates by reference its responses to Paragraphs

1-47 of the Complaint as set forth above.

          49.   Omilia NLS denies the allegations in Paragraph 49 of the Complaint.

          50.   Omilia NLS admits Paragraph 50 purports to cite Claim 17 of the ’993

Patent.    Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 50 of the Complaint.

          51.   Omilia NLS denies the allegations in Paragraph 51 of the Complaint.

          52.   Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 52 of the Complaint.


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       53.       Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves.      Omilia NLS further admits it has knowledge of the website page

https://aws.amazon.com/solutions/case-studies/Omilia/ that contains statements about the

company and its products. To the extent Nuance characterizes the statements contained

at the website, the statements on the website speak for themselves. Omilia NLS lacks

information or belief as to contents of the other website cited in Paragraph 53 and

therefore denies the allegations as they relate to that website.     Except as expressly

admitted herein, Omilia NLS further denies the remaining allegations in Paragraph 53 of

the Complaint.

       54.       Omilia NLS denies the allegations in Paragraph 54 of the Complaint.

       55.       Omilia NLS denies the allegations in Paragraph 55 of the Complaint.

       56.       Omilia NLS admits it received correspondence from Nuance on or around

October 9, 2018. The correspondence speaks for itself. Omilia NLS further admits it

maintains a website at omilia.com that contains statements about the company and its

products. To the extent Nuance characterizes the statements contained on Omilia NLS’

website, the statements on the website speak for themselves.         Except as expressly

admitted herein, Omilia NLS denies the allegations in Paragraph 56 of the Complaint.

       57.       Omilia NLS denies the allegations in Paragraph 57 of the Complaint.

       58.       Omilia NLS admits it received correspondence from Nuance on or around

October 9, 2018. The correspondence speaks for itself. Except as expressly admitted

herein, Omilia NLS denies the allegations in Paragraph 58 of the Complaint.

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          59.    Omilia NLS denies the allegations in Paragraph 59 of the Complaint.

          60.    Omilia NLS denies the allegations in Paragraph 60 of the Complaint.

          61.    Omilia NLS denies the allegations in Paragraph 61 of the Complaint and

denies that Plaintiff is entitled to any of the relief requested in Paragraph 61.

          62.    Omilia NLS denies the allegations in Paragraph 62 of the Complaint and

denies that Plaintiff is entitled to any of the relief requested in Paragraph 62.

                COUNT III: ALLEGED INFRINGEMENT OF THE ’839 PATENT
                                UNDER 35 U.S.C. § 271

          63.    Omilia NLS hereby incorporates by reference its responses to Paragraphs

1-62 of the Complaint as set forth above.

          64.    Omilia NLS denies the allegations in Paragraph 64 of the Complaint.

          65.    Omilia NLS admits Paragraph 65 purports to cite Claim 17 of the ’839

Patent.    Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 65 of the Complaint.

          66.    Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 66 of the Complaint.

          67.    Omilia NLS denies the allegations in Paragraph 67 of the Complaint.

          68.    Omilia NLS denies the allegations in Paragraph 68 of the Complaint.

          69.    Omilia NLS denies all allegations in Paragraph 69 of the Complaint.

          70.    Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the
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statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 70 of the Complaint.

       71.     Omilia NLS admits it has knowledge of the ’839 Patent from the

Complaint.    Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 71 of the Complaint.

       72.     Omilia NLS denies the allegations in Paragraph 72 of the Complaint.

       73.     Omilia NLS admits it has knowledge of the ’839 Patent from the

Complaint. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 73 of the Complaint.

       74.     Omilia NLS denies the allegations in Paragraph 74 of the Complaint.

       75.     Omilia NLS denies the allegations in Paragraph 75 of the Complaint and

denies that Plaintiff is entitled to any of the relief requested in Paragraph 75.

       76.     Omilia NLS denies the allegations in Paragraph 76 of the Complaint and

denies that Plaintiff is entitled to any of the relief requested in Paragraph 76.

             COUNT IV: ALLEGED INFRINGEMENT OF THE ’534 PATENT
                             UNDER 35 U.S.C. § 271

       77.     Omilia NLS hereby incorporates by reference its responses to Paragraphs

1-76 of the Complaint as set forth above.

       78.     Omilia NLS denies the allegations in Paragraph 78 of the Complaint.


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          79.   Omilia NLS admits Paragraph 79 purports to cite Claim 13 of the ’534

Patent.    Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 79 of the Complaint.

          80.   Omilia NLS denies the allegations in Paragraph 80 of the Complaint.

          81.   Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 81 of the Complaint.

          82.   Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 82 of the Complaint.

          83.   Omilia NLS denies the allegations in Paragraph 83 of the Complaint.

          84.   Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 84 of the Complaint.

          85.   Omilia NLS admits it has knowledge of the ’534 Patent from the

Complaint. Omilia NLS further admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

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statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 85 of the Complaint.

          86.    Omilia NLS denies the allegations in Paragraph 86 of the Complaint.

          87.    Omilia NLS admits it has knowledge of the ’534 Patent from the

Complaint. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 87 of the Complaint.

          88.    Omilia NLS denies the allegations in Paragraph 88 of the Complaint.

          89.    Omilia NLS denies the allegations in Paragraph 89 of the Complaint and

denies that Plaintiff is entitled to any of the relief requested in Paragraph 89.

          90.    Omilia NLS denies the allegations in Paragraph 90 of the Complaint and

denies that Plaintiff is entitled to any of the relief requested in Paragraph 90.

                COUNT V: ALLEGED INFRINGEMENT OF THE ’804 PATENT
                               UNDER 35 U.S.C. § 271

          91.    Omilia NLS hereby incorporates by reference its responses to Paragraphs

1-90 of the Complaint as set forth above.

          92.    Omilia NLS denies the allegations in Paragraph 92 of the Complaint.

          93.    Omilia NLS admits Paragraph 93 purports to cite Claim 1 of the ’804

Patent.    Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 93 of the Complaint.

          94.    Omilia NLS denies the allegations in Paragraph 94 of the Complaint.

          95.    Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for
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themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 95 of the Complaint.

       96.    Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 96 of the Complaint.

       97.    Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 97 of the Complaint.

       98.    Omilia NLS denies the allegations in Paragraph 98 of the Complaint.

       99.    Omilia NLS admits it received correspondence from Nuance on or around

October 9, 2018. The correspondence speaks for itself. Omilia NLS further admits it

maintains a website at omilia.com that contains statements about the company and its

products. To the extent Nuance characterizes the statements contained on Omilia NLS’

website, the statements on the website speak for themselves.       Except as expressly

admitted herein, Omilia NLS denies the allegations in Paragraph 99 of the Complaint.

       100.   Omilia NLS denies the allegations in Paragraph 100 of the Complaint.

       101.   Omilia NLS admits it received correspondence from Nuance on or around

October 9, 2018. The correspondence speaks for itself. Except as expressly admitted

herein, Omilia NLS denies the allegations in Paragraph 101 of the Complaint.

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          102.    Omilia NLS denies the allegations in Paragraph 102 of the Complaint.

          103.    Omilia NLS denies the allegations in Paragraph 103 of the Complaint.

          104.    Omilia NLS denies the allegations in Paragraph 104 of the Complaint and

denies that Plaintiff is entitled to any of the relief requested in Paragraph 104.

          105.    Omilia NLS denies the allegations in Paragraph 105 of the Complaint and

denies that Plaintiff is entitled to any of the relief requested in Paragraph 105.

                 COUNT VI: ALLEGED INFRINGEMENT OF THE ‘532 PATENT
                                UNDER 35 U.S.C. § 271

          106.    Omilia NLS hereby incorporates by reference its responses to Paragraphs

1-105 of the Complaint as set forth above.

          107.    Omilia NLS denies the allegations in Paragraph 107 of the Complaint.

          108.    Omilia NLS admits Paragraph 108 purports to cite Claim 1 of the ’532

Patent.    Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 108 of the Complaint.

          109.    Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 109 of the Complaint.

          110.    Omilia NLS denies the allegations in Paragraph 110 of the Complaint.

          111.    Omilia NLS denies the allegations in Paragraph 111 of the Complaint.

          112.    Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for
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themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 112 of the Complaint.

       113.     Omilia NLS denies the allegations in Paragraph 113 of the Complaint.

       114.     Omilia NLS admits it has knowledge of the ’532 Patent from the

Complaint. Omilia NLS further admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 114 of the Complaint.

       115.     Omilia NLS denies the allegations in Paragraph 115 of the Complaint.

       116.     Omilia NLS admits it has knowledge of the ’532 Patent from the

Complaint. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 116 of the Complaint.

       117.     Omilia NLS denies the allegations in Paragraph 117 of the Complaint.

       118.     Omilia NLS denies the allegations in Paragraph 118 of the Complaint and

denies that Plaintiff is entitled to any of the relief requested in Paragraph 118.

       119.     Omilia NLS denies the allegations in Paragraph 119 of the Complaint and

denies that Plaintiff is entitled to any of the relief requested in Paragraph 119.

              COUNT VII: ALLEGED INFRINGEMENT OF THE ‘688 PATENT
                              UNDER 35 U.S.C. § 271

       120.     Omilia NLS hereby incorporates by reference its responses to Paragraphs

1-119 of the Complaint as set forth above.

       121.     Omilia NLS denies the allegations in Paragraph 121 of the Complaint.


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          122.   Omilia NLS admits Paragraph 122 purports to cite Claim 1 of the ’688

Patent.    Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 122 of the Complaint.

          123.   Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 123 of the Complaint.

          124.   Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 124 of the Complaint.

          125.   Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 125 of the Complaint.

          126.   Omilia NLS denies the allegations in Paragraph 126 of the Complaint.

          127.   Omilia NLS denies the allegations in Paragraph 127 of the Complaint.

          128.   Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

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themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 128 of the Complaint.

       129.    Omilia NLS denies the allegations in Paragraph 129 of the Complaint.

       130.    Omilia NLS admits it has knowledge of the ’688 Patent from the

Complaint. Omilia NLS further admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 130 of the Complaint.

       131.    Omilia NLS denies the allegations in Paragraph 131 of the Complaint.

       132.    Omilia NLS admits it has knowledge of the ’688 Patent from the

Complaint. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 132 of the Complaint.

       133.    Omilia NLS denies the allegations in Paragraph 133 of the Complaint.

       134.    Omilia NLS denies the allegations in Paragraph 134 of the Complaint and

denies that Plaintiff is entitled to any of the relief requested in Paragraph 134.

       135.    Omilia NLS denies the allegations in Paragraph 135 of the Complaint and

denies that Plaintiff is entitled to any of the relief requested in Paragraph 135.

            COUNT VIII: ALLEGED INFRINGEMENT OF THE ‘925 PATENT
                             UNDER 35 U.S.C. § 271

       136.    Omilia NLS hereby incorporates by reference its responses to Paragraphs

1-135 of the Complaint as set forth above.

       137.    Omilia NLS denies the allegations in Paragraph 137 of the Complaint.


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          138.   Omilia NLS admits Paragraph 138 purports to cite Claim 27 of the ’925

Patent.    Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 138 of the Complaint.

          139.   Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 139 of the Complaint.

          140.   Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 140 of the Complaint.

          141.   Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 141 of the Complaint.

          142.   Omilia NLS denies the allegations in Paragraph 142 of the Complaint.

          143.   Omilia NLS admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for



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themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 143 of the Complaint.

       144.    Omilia NLS denies the allegations in Paragraph 144 of the Complaint.

       145.    Omilia NLS admits it has knowledge of the ’925 Patent from the

Complaint. Omilia NLS further admits it maintains a website at omilia.com that contains

statements about the company and its products. To the extent Nuance characterizes the

statements contained on Omilia NLS’ website, the statements on the website speak for

themselves. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 145 of the Complaint.

       146.    Omilia NLS denies the allegations in Paragraph 146 of the Complaint.

       147.    Omilia NLS admits it has knowledge of the ’925 Patent from the

Complaint. Except as expressly admitted herein, Omilia NLS denies the allegations in

Paragraph 147 of the Complaint.

       148.    Omilia NLS denies the allegations in Paragraph 148 of the Complaint.

       149.    Omilia NLS denies the allegations in Paragraph 149 of the Complaint and

denies that Plaintiff is entitled to any of the relief requested in Paragraph 149.

       150.    Omilia NLS denies the allegations in Paragraph 150 of the Complaint and

denies that Plaintiff is entitled to any of the relief requested in Paragraph 150.

                RESPONSE TO NUANCE’S PRAYER FOR RELIEF

       Omilia NLS denies that Nuance is entitled to any of the relief sought in the

Complaint or to any other relief against Omilia NLS by virtue of this Complaint.




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                               AFFIRMATIVE DEFENSES

       Without assuming any burden it would not otherwise bear, and reserving its right

to amend its Answer to assert additional defenses as they may become known during

discovery, Omilia NLS asserts the following separate and additional defenses. Nothing

in these defenses is intended to or shall be construed as an argument or admission that

Omilia NLS bears the burden of proof as to any matter raised in any of its defenses.

                                    FIRST DEFENSE

       The Complaint, and each cause of action within it, fails to state a claim upon

which relief can be granted.

                                  SECOND DEFENSE

       Omilia NLS has not infringed and is not infringing any claim of U.S. Patent Nos.

7,505,905 (“the ’905 Patent”), 8,532,993 (“the ’993 Patent”), 8,027,839 (“the ’839

Patent”), 8,521,534 (“the ’534 Patent”), 8,379,804 (“the ’804 Patent”), 8,909,532 (“the

’532 Patent”), 7,149,688 (“the ’688 Patent”), and 6,999,925 (“the ’925 Patent”)

(collectively, the “patents-in-suit”), either literally and/or under the doctrine of

equivalents.


                                   THIRD DEFENSE

       The claims of the patents-in-suit are invalid, void, and/or unenforceable for failure

to satisfy the conditions for patentability set forth in Title 35 of the United States Code,

including without limitation 35 U.S.C. §§ 101 et seq.




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                                  FOURTH DEFENSE

       Plaintiff is estopped from construing any valid claim of the patents-in-suit to

cover or include, either literally or by application of the doctrine of equivalents, any

product manufactured, used, imported, sold, or offered by Omilia NLS because of

admissions and statements to the United States Patent and Trademark Office in the

specification of those patents and during prosecution of the applications leading to the

issuance of those patents.


                                   FIFTH DEFENSE

       Plaintiff’s claims for damages, if any, for alleged infringement of the patents-in-

suit are limited by 35 U.S.C. §§ 286 and 287.


                                   SIXTH DEFENSE

       Plaintiff’s claims are barred by its failure to mitigate damages.

                                 SEVENTH DEFENSE

       Plaintiff’s claims are barred, in whole or in part, by consent, acquiescence, and

license.


                                  EIGHTH DEFENSE

       Plaintiff’s claims are barred, in whole or in part, by equitable doctrines of waiver,

unclean hands, and estoppel.


                                   NINTH DEFENSE

       Plaintiff is barred from obtaining a finding of willfulness or receiving enhanced

damages because it has failed to set forth facts alleging reprehensible culpability on the


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part of Omilia NLS, which is prerequisite for a finding of willfulness and an award of

enhanced damages.


                                   TENTH DEFENSE

       Plaintiff is not entitled to injunctive relief because any injury is not immediate

and/or irreparable, and because Plaintiff has adequate remedies at law.


                                ELEVENTH DEFENSE

       Plaintiff’s recovery of costs is barred by 35 U.S.C. § 288.


                   RESERVATION OF ADDITIONAL DEFENSES

       Omilia NLS reserves any and all additional defenses available under Section 35 of

the United States Code, the rules, regulations, or law related thereto, the Federal Rules of

Civil Procedure, the Rules of this Court, and/or otherwise in law or equity, now existing,

or later arising, as may be discovered.




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                                   COUNTERCLAIMS

       1.      Counterclaim-Plaintiff Omilia NLS incorporates by reference the

admissions, allegations, denials, and additional defenses in the answer above as if fully

set forth herein. Omilia NLS counterclaims as follows.

       2.      Omilia NLS is a corporation organized under the laws of the country of

Cyprus with a principal place of business Gladstonos 55, Roussos Center Point, Office

3C-3D, 3040 Limassol.

       3.      On information and belief, Nuance Communications, Inc. formed under

the laws of Delaware and has a principal place of business at 1 Wayside Road,

Burlington, Massachusetts.

                             JURISDICTION AND VENUE

       4.      Subject to its defenses and denials, Omilia NLS alleges this Court has

subject matter jurisdiction over these counterclaims under 28 U.S.C. §§ 1331, 1338,

2201, and 2202.

       5.      Nuance is subject to personal jurisdiction in this district at least because

they have voluntarily appeared and consented to this district by filing their patent

infringement claims in this district.

                               FACTUAL BACKGROUND

       6.      In its Complaint, Nuance asserts Omilia NLS has infringed U.S. Patent

Nos. 7,505,905 (“the ’905 Patent”), 8,532,993 (“the ’993 Patent”), 8,027,839 (“the ’839

Patent”), 8,521,534 (“the ’534 Patent”), 8,379,804 (“the ’804 Patent”), 8,909,532 (“the

’532 Patent”), 7,149,688 (“the ’688 Patent”), and 6,999,925 (“the ’925 Patent”).




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        7.       Omilia NLS has not infringed and does not infringe any valid or

enforceable claim of the ’905 Patent, the ’993 Patent, the ’839 Patent, the ’534 Patent, the

’804 Patent, the ’532 Patent, the ’688 Patent, or the ’925 Patent.

        8.       The ’905 Patent, the ’993 Patent, the ’839 Patent, the ’534 Patent, the ’804

Patent, the ’532 Patent, the ’688 Patent, and the ’925 Patent are invalid and

unenforceable.

        9.       Consequently, there is an actual case or controversy between Omilia NLS

and Nuance over the non-infringement, validity, and unenforceability of the ’905 Patent,
the ’993 Patent, the ’839 Patent, the ’534 Patent, the ’804 Patent, the ’532 Patent, the

’688 Patent, and the ’925 Patent.

                                         COUNT 1

             (Declaratory Judgement of Non-Infringement of the ʼ905 patent)

        10.      Omilia NLS repeats and re-alleges paragraphs 1-9 of these counterclaims

as if fully set forth herein.

        11.      An actual case or controversy exists between Omilia NLS and Nuance as

to whether the claims of the ʼ905 patent are not infringed by Omilia NLS.

        12.      A judicial declaration is necessary and appropriate so that Omilia NLS

may ascertain its rights as to the ʼ905 patent.

        13.      Omilia NLS has not in the past, and does not now, make, use, sell, offer to

sell, or import any products that infringe any valid claim of the ’905 patent, either

directly or indirectly, and Omilia NLS does not and has not infringed, contributed to the

infringement of, or induced infringement of any valid claim of the ’905 patent either

literally or under the doctrine of equivalents.

        14.      Omilia NLS therefore seeks judicial declaration that it has not and does

not infringe any valid or enforceable claim of the ʼ905 patent.



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                                          COUNT 2

   (Declaratory Judgement of Invalidity and Unenforceability of the ʼ905 patent)

        15.      Omilia NLS repeats and re-alleges paragraphs 1-14 of these counterclaims

as if fully set forth herein.

        16.      An actual case or controversy exists between Omilia NLS and Nuance as

to whether the claims of the ʼ905 patent are invalid and unenforceable.

        17.      A judicial declaration is necessary and appropriate so that Omilia NLS

may ascertain its rights as to the ʼ905 patent.
        18.      The claims of the ʼ905 patent are invalid for failure to comply with the

patent laws, including without limitation 35 U.S.C. §§ 102, 103, and/or 112.            For

example, and subject to further investigation, in addition to prior art identified in the

patents and file histories, and without limitation, at least one or more of the below

references, individually or in combination, render the claims invalid:

              a. U.S. Patent No. 5,865,626 to Beattie et al.; and

              b. Makhoul and Schwartz, State of the art in continuous speech recognition,

        Proc. Natl. Acad. Sci. USA Vol. 92, 9956-9963 (Oct. 1995).

        19.      Omilia NLS therefore seeks judicial declaration that the claims of the ʼ905

patent are invalid and unenforceable.
                                          COUNT 3

           (Declaratory Judgement of Non-Infringement of the ʼ993 patent)

        20.      Omilia NLS repeats and re-alleges paragraphs 1-19 of these counterclaims

as if fully set forth herein.

        21.      An actual case or controversy exists between Omilia NLS and Nuance as

to whether the claims of the ʼ993 patent are not infringed by Omilia NLS.

        22.      A judicial declaration is necessary and appropriate so that Omilia NLS


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may ascertain its rights as to the ʼ993 patent.

        23.      Omilia NLS has not in the past, and does not now, make, use, sell, offer to

sell, or import any products that infringe any valid claim of the ’993 patent, either

directly or indirectly, and Omilia NLS does not and has not infringed, contributed to the

infringement of, or induced infringement of any valid claim of the ’993 patent either

literally or under the doctrine of equivalents.

        24.      Omilia NLS therefore seeks judicial declaration that it has not and does

not infringe any valid or enforceable claim of the ʼ993 patent.

                                         COUNT 4

   (Declaratory Judgement of Invalidity and Unenforceability of the ʼ993 patent)

        25.      Omilia NLS repeats and re-alleges paragraphs 1-24 of these counterclaims

as if fully set forth herein.

        26.      An actual case or controversy exists between Omilia NLS and Nuance as

to whether the claims of the ʼ993 patent are invalid and unenforceable.

        27.      A judicial declaration is necessary and appropriate so that Omilia NLS

may ascertain its rights as to the ʼ993 patent.

        28.      The claims of the ʼ993 patent are invalid for failure to comply with the

patent laws, including without limitation 35 U.S.C. §§ 102, 103, and/or 112.            For

example, and subject to further investigation, in addition to prior art identified in the

patents and file histories, and without limitation, at least one or more of the below

references, individually or in combination, render the claims invalid:

              a. Mirjam Wester, Pronunciation Variation Modeling for Dutch Automatic

        Speech Recognition (2002);

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              b. Steinbiss et al., The Philips research system for large-vocabulary

        continuous-speech recognition, Proc. of 3rd European Conference on Speech

        Communication and Technology, EUROSPEECH ’93, 2125-2128 (1993); and

              c. Bahl et al., Context Dependent Modeling of Phones in Continuous Speech

        Using Decision Trees, HLT ’91 Proceedings of the workshop on Speech and

        Natural Language (1991) 264-269.

              d. John Eric Fosler-Lussier, Dynamic pronunciation models for automatic

        speech recognition, University of California, Berkeley (1999)

        29.      Omilia NLS therefore seeks judicial declaration that the claims of the ʼ993

patent are invalid and unenforceable.

                                         COUNT 5

           (Declaratory Judgement of Non-Infringement of the ʼ839 patent)

        30.      Omilia NLS repeats and re-alleges paragraphs 1-29 of these counterclaims

as if fully set forth herein.

        31.      An actual case or controversy exists between Omilia NLS and Nuance as

to whether the claims of the ʼ839 patent are not infringed by Omilia NLS.

        32.      A judicial declaration is necessary and appropriate so that Omilia NLS

may ascertain its rights as to the ʼ839 patent.

        33.      Omilia NLS has not in the past, and does not now, make, use, sell, offer to

sell, or import any products that infringe any valid claim of the ’839 patent, either

directly or indirectly, and Omilia NLS does not and has not infringed, contributed to the

infringement of, or induced infringement of any valid claim of the ’839 patent either

literally or under the doctrine of equivalents.

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        34.      Omilia NLS therefore seeks judicial declaration that it has not and does

not infringe any valid or enforceable claim of the ʼ839 patent.

                                          COUNT 6

   (Declaratory Judgement of Invalidity and Unenforceability of the ʼ839 patent)

        35.      Omilia NLS repeats and re-alleges paragraphs 1-34 of these counterclaims

as if fully set forth herein.

        36.      An actual case or controversy exists between Omilia NLS and Nuance as

to whether the claims of the ʼ839 patent are invalid and unenforceable.

        37.      A judicial declaration is necessary and appropriate so that Omilia NLS

may ascertain its rights as to the ʼ839 patent.

        38.      The claims of the ʼ839 patent are invalid for failure to comply with the

patent laws, including without limitation 35 U.S.C. §§ 102, 103, and/or 112.            For

example, and subject to further investigation, in addition to prior art identified in the

patents and file histories, and without limitation, at least one or more of the below

references, individually or in combination, render the claims invalid:

              a. U.S. Patent No. 6,763,089 to Feigenbaum;

              b. U.S. Patent No. 6,389,114 to Dowens et al.;

              c. U.S. Patent No. 7,310,329 to Vieri et al.;

              d. Netherlands Patent No. NL1026519C to Snip et al.; and

              e. Glaser et al., Preparation of Deaf end-users and the SoftBridge for semi-

                 automated relay trials, Depts. of Health and Rehabilitation, Computer

                 Science and Electrical Engineering, University of Cape Town, 2004

        39.      Omilia NLS therefore seeks judicial declaration that the claims of the ʼ839

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patent are invalid and unenforceable.

                                         COUNT 7

           (Declaratory Judgement of Non-Infringement of the ʼ534 patent)

        40.     Omilia NLS repeats and re-alleges paragraphs 1-39 of these counterclaims

as if fully set forth herein.

        41.     An actual case or controversy exists between Omilia NLS and Nuance as

to whether the claims of the ʼ534 patent are not infringed by Omilia NLS.

        42.     A judicial declaration is necessary and appropriate so that Omilia NLS

may ascertain its rights as to the ʼ534 patent.

        43.     Omilia NLS has not in the past, and does not now, make, use, sell, offer to

sell, or import any products that infringe any valid claim of the ’534 patent, either

directly or indirectly, and Omilia NLS does not and has not infringed, contributed to the

infringement of, or induced infringement of any valid claim of the ’534 patent either

literally or under the doctrine of equivalents.

        44.     Omilia NLS therefore seeks judicial declaration that it has not and does

not infringe any valid or enforceable claim of the ʼ534 patent.

                                         COUNT 8

   (Declaratory Judgement of Invalidity and Unenforceability of the ʼ534 patent)

        45.     Omilia NLS repeats and re-alleges paragraphs 1-44 of these counterclaims

as if fully set forth herein.

        46.     An actual case or controversy exists between Omilia NLS and Nuance as

to whether the claims of the ʼ534 patent are invalid and unenforceable.

        47.     A judicial declaration is necessary and appropriate so that Omilia NLS

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may ascertain its rights as to the ʼ534 patent.

        48.      The claims of the ʼ534 patent are invalid for failure to comply with the

patent laws, including without limitation 35 U.S.C. §§ 102, 103, and/or 112.            For

example, and subject to further investigation, in addition to prior art identified in the

patents and file histories, and without limitation, at least one or more of the below

references, individually or in combination, render the claims invalid:

              a. Paek, et al., Handling Out-of-Grammar Commands in Mobile Speech

                 Interaction Using Backoff Filler Models, Proceedings of the ACL

                 Workshop on Grammar-Based Approaches to Spoken Language

                 Processing (SPEECHGRAM) (2007), pp. 33-40;

              b. U.S. Patent No. 8,244,545 to Paek et al.;

              c. U.S. Patent No. 8,694,322 to Snitkovskiy et al.;

              d. U.S. Patent No. 8,326,637 to Baldwin et al.;

              e. U.S. Patent No. 6,144,938 to Surace et al.; and

              f. U.S. Patent No. 7,620,549 to Di Cristo et al.

        49.      Omilia NLS therefore seeks judicial declaration that the claims of the ʼ534

patent are invalid and unenforceable.

                                          COUNT 9

           (Declaratory Judgement of Non-Infringement of the ʼ804 patent)

        50.      Omilia NLS repeats and re-alleges paragraphs 1-49 of these counterclaims

as if fully set forth herein.

        51.      An actual case or controversy exists between Omilia NLS and Nuance as

to whether the claims of the ʼ804 patent are not infringed by Omilia NLS.

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        52.      A judicial declaration is necessary and appropriate so that Omilia NLS

may ascertain its rights as to the ʼ804 patent.

        53.      Omilia NLS has not in the past, and does not now, make, use, sell, offer to

sell, or import any products that infringe any valid claim of the ’804 patent, either

directly or indirectly, and Omilia NLS does not and has not infringed, contributed to the

infringement of, or induced infringement of any valid claim of the ’804 patent either

literally or under the doctrine of equivalents.

        54.      Omilia NLS therefore seeks judicial declaration that it has not and does

not infringe any valid or enforceable claim of the ʼ804 patent.

                                          COUNT 10

   (Declaratory Judgement of Invalidity and Unenforceability of the ʼ804 patent)

        55.      Omilia NLS repeats and re-alleges paragraphs 1-54 of these counterclaims

as if fully set forth herein.

        56.      An actual case or controversy exists between Omilia NLS and Nuance as

to whether the claims of the ʼ804 patent are invalid and unenforceable.

        57.      A judicial declaration is necessary and appropriate so that Omilia NLS

may ascertain its rights as to the ʼ804 patent.

        58.      The claims of the ʼ804 patent are invalid for failure to comply with the

patent laws, including without limitation 35 U.S.C. §§ 102, 103, and/or 112.            For

example, and subject to further investigation, in addition to prior art identified in the

patents and file histories, and without limitation, at least one or more of the below

references, individually or in combination, render the claims invalid:

              a. U.S. Patent No. 7,698,435 to Paterik et al.;

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              b. U.S. Patent No. 7,558,861 to Qidwai et al.;

              c. U.S. Patent No. 7,292,689 to Odinak et al.;

              d. Voice Extensible Markup Language (VoiceXML) Version 2.0 (Apr. 24,

        2002 Working Draft of World Wide Web Consortium);

              e. Rosenberg et al., SIP: Session Initiation Protocol, Request for Comments

        3261 (June 2002);

              f. Speech Recognition Grammar Specification Version 1.0 (August 20, 2001

        Working Draft of World Wide Web Consortium);

              g. Complex Event Processing (February 4, 2007, Dr. Asaf Adi, IBM Haifa

        Labs); and

              h. Voice Browser Call Control: CCXML Version 1.0 (January 19, 2007,

        W3C Working Draft).

        59.      Omilia NLS therefore seeks judicial declaration that the claims of the ʼ804

patent are invalid and unenforceable.

                                         COUNT 11

           (Declaratory Judgement of Non-Infringement of the ʼ532 patent)

        60.      Omilia NLS repeats and re-alleges paragraphs 1-59 of these counterclaims

as if fully set forth herein.

        61.      An actual case or controversy exists between Omilia NLS and Nuance as

to whether the claims of the ʼ532 patent are not infringed by Omilia NLS.

        62.      A judicial declaration is necessary and appropriate so that Omilia NLS

may ascertain its rights as to the ʼ532 patent.

        63.      Omilia NLS has not in the past, and does not now, make, use, sell, offer to

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sell, or import any products that infringe any valid claim of the ’532 patent, either

directly or indirectly, and Omilia NLS does not and has not infringed, contributed to the

infringement of, or induced infringement of any valid claim of the ’532 patent either

literally or under the doctrine of equivalents.

        64.      Omilia NLS therefore seeks judicial declaration that it has not and does

not infringe any valid or enforceable claim of the ʼ532 patent.

                                         COUNT 12

   (Declaratory Judgement of Invalidity and Unenforceability of the ʼ532 patent)

        65.      Omilia NLS repeats and re-alleges paragraphs 1-64 of these counterclaims

as if fully set forth herein.

        66.      An actual case or controversy exists between Omilia NLS and Nuance as

to whether the claims of the ʼ532 patent are invalid and unenforceable.

        67.      A judicial declaration is necessary and appropriate so that Omilia NLS

may ascertain its rights as to the ʼ532 patent.

        68.      The claims of the ʼ532 patent are invalid for failure to comply with the

patent laws, including without limitation 35 U.S.C. §§ 102, 103, and/or 112.          For

example, and subject to further investigation, in addition to prior art identified in the

patents and file histories, and without limitation, at least one or more of the below

references, individually or in combination, render the claims invalid:

              a. U.S. Patent No. 7,478,171 to Ramaswamy et al.;

              b. U.S. Patent Application Publication No. 2008/0262848, Shienbrood et al.;

              c. U.S. Patent Application Publication No. 2010/0049619, Beck;

              d. U.S. Patent No. 7,640,159 to Reich;

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              e. U.S. Patent No. 7,660,719 to Damiba et al.;

              f. U.S. Patent No. 7,487,440 to Gergic et al.; and

              g. U.S. Patent No. 7,277,854 to Bennett et al.

        69.      Omilia NLS therefore seeks judicial declaration that the claims of the ʼ532

patent are invalid and unenforceable.

                                         COUNT 13

           (Declaratory Judgement of Non-Infringement of the ʼ688 patent)

        70.      Omilia NLS repeats and re-alleges paragraphs 1-69 of these counterclaims

as if fully set forth herein.

        71.      An actual case or controversy exists between Omilia NLS and Nuance as

to whether the claims of the ʼ688 patent are not infringed by Omilia NLS.

        72.      A judicial declaration is necessary and appropriate so that Omilia NLS

may ascertain its rights as to the ʼ688 patent.

        73.      Omilia NLS has not in the past, and does not now, make, use, sell, offer to

sell, or import any products that infringe any valid claim of the ’688 patent, either

directly or indirectly, and Omilia NLS does not and has not infringed, contributed to the

infringement of, or induced infringement of any valid claim of the ’688 patent either

literally or under the doctrine of equivalents.

        74.      Omilia NLS therefore seeks judicial declaration that it has not and does

not infringe any valid or enforceable claim of the ʼ688 patent.

                                         COUNT 14

   (Declaratory Judgement of Invalidity and Unenforceability of the ʼ688 patent)

        75.      Omilia NLS repeats and re-alleges paragraphs 1-74 of these counterclaims

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as if fully set forth herein.

        76.      An actual case or controversy exists between Omilia NLS and Nuance as

to whether the claims of the ʼ688 patent are invalid and unenforceable.

        77.      A judicial declaration is necessary and appropriate so that Omilia NLS

may ascertain its rights as to the ʼ688 patent.

        78.      The claims of the ʼ688 patent are invalid for failure to comply with the

patent laws, including without limitation 35 U.S.C. §§ 102, 103, and/or 112.            For

example, and subject to further investigation, in addition to prior art identified in the

patents and file histories, and without limitation, at least one or more of the below

references, individually or in combination, render the claims invalid:

              a. U.S. Patent No. 5,862,519 to Sharma et al.;

              b. U.S. Patent No. 6,374,210 to Chu;

              c. U.S. Patent No. 6,738,741 to Emam et al.;

              d. U.S. Patent No. 6,999,925 to Fischer at al.;

              e. U.S. Patent No. 6,882,970 to Garner et al.;

              f. U.S. Patent No. 7,295,979 to Neti et al.;

              g. U.S. Patent No. 7,043,431 to Riis et al.; and

              h. U.S. Patent No. 7,292,979 to Karas et al.

        79.      Omilia NLS therefore seeks judicial declaration that the claims of the ʼ688

patent are invalid and unenforceable.

                                         COUNT 15

           (Declaratory Judgement of Non-Infringement of the ʼ925 patent)

        80.      Omilia NLS repeats and re-alleges paragraphs 1-79 of these counterclaims

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as if fully set forth herein.

        81.     An actual case or controversy exists between Omilia NLS and Nuance as

to whether the claims of the ʼ925 patent are not infringed by Omilia NLS.

        82.     A judicial declaration is necessary and appropriate so that Omilia NLS

may ascertain its rights as to the ʼ925 patent.

        83.     Omilia NLS has not in the past, and does not now, make, use, sell, offer to

sell, or import any products that infringe any valid claim of the ’925 patent, either

directly or indirectly, and Omilia NLS does not and has not infringed, contributed to the

infringement of, or induced infringement of any valid claim of the ’925 patent either

literally or under the doctrine of equivalents.

        84.     Omilia NLS therefore seeks judicial declaration that it has not and does

not infringe any valid or enforceable claim of the ʼ925 patent.

                                         COUNT 16

   (Declaratory Judgement of Invalidity and Unenforceability of the ʼ925 patent)

        85.     Omilia NLS repeats and re-alleges paragraphs 1-84 of these counterclaims

as if fully set forth herein.

        86.     An actual case or controversy exists between Omilia NLS and Nuance as

to whether the claims of the ʼ925 patent are invalid and unenforceable.

        87.     A judicial declaration is necessary and appropriate so that Omilia NLS

may ascertain its rights as to the ʼ925 patent.

        88.     The claims of the ʼ925 patent are invalid for failure to comply with the

patent laws, including without limitation 35 U.S.C. §§ 102, 103, and/or 112.           For

example, and subject to further investigation, in addition to prior art identified in the

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patents and file histories, and without limitation, at least one or more of the below

references, individually or in combination, render the claims invalid:

             a. U.S. Patent No. 6,912,499 to Sabourin et al.;

             b. U.S. Patent No. 6,336,108 to Thiesson et al.;

             c. U.S. Patent No. 7,216,079 to Barnard et al.;

             d. U.S. Patent No. 7,043,422 to Gao et al.;

             e. U.S. Patent Application Publication No. 2008/0147404, Liu et al.; and

             f. Duchateau et al., A Novel Node Splitting Criterion in Decision Tree

                Construction for Semi-Continuous HMMS, Proceedings of 5th European

                Conference on Speech Communication and Technology, EUROSPEECH

                ’97 (1997).

       89.      Omilia NLS therefore seeks judicial declaration that the claims of the ʼ925

patent are invalid and unenforceable.




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             INTRODUCTION TO FEDERAL ANTITRUST AND STATE
                  UNFAIR COMPETITION COUNTERCLAIMS

       90.     Nuance is a multi-billion dollar conglomerate built by more than a decade

of predatory acquisitions of competitors, including nascent competitors, patent assets, and

competing technologies intended to ensure that Nuance, and Nuance technology,

maintain a dominant position in the market.

       91.     Beginning in 2001, Nuance (and/or its predecessor ScanSoft, Inc.

(“ScanSoft”)) has embarked on a widespread, anticompetitive overall scheme to acquire

rival automated speech recognition (“ASR”) technology providers and patent assets in a

manner that has effectively eliminated all meaningful competition in the market. It has

carried out this scheme by, among other things, acquiring a patent portfolio comprising

more than 5,000 patents relating to ASR software and other technologies, and threatening

to assert or actually asserting objectively baseless patent lawsuits, including the instant

lawsuit, against its actual and potential competitors, with the primary purpose of

inflicting reputational and economic harm on those companies, driving them out of

business as a result of the substantial resources required to defend those lawsuits, and/or

forcing them to agree to be acquired by Nuance. As explained below, Nuance’s scheme

has harmed competition in the relevant market in so far as it has, among other things,

enabled Nuance to charge supra-competitive prices for its products and/or professional

services to the ultimate detriment of customers and consumers of ASR technology.

       92.     Nuance’s scheme has included disseminating to the marketplace generally,

and to its competitors’ customers and resellers specifically, baseless and defamatory

allegations made without regard to the merits of the claims that its competitors infringe

one or more of Nuance’s patents, both before and after filing suits on such theories, in
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order to induce those customers and resellers to switch to Nuance as their supplier,

among other acts of economic interference. As explained below, Omilia NLS, a

competitor of Nuance who has recently attempted to enter the U.S. and North American

markets, has suffered economic injury from Nuance’s unfair and anticompetitive tactics

and is entitled to injunctive relief and an award of treble damages.

       Background on ASR Technology and the Relevant Market

       93.     The technology relevant to Omilia NLS’ counterclaims involves

Automatic Speech Recognition, which is technology that allows a machine to recognize

and respond to human voice commands, typically by converting speech to text. More

specifically, the technology at issue concerns ASR software used in enterprise contact

centers to automate the handling and routing of incoming calls.         Such technology

typically is deployed in high-end enterprise contact centers, which include, for example,

contact centers with over 200 seats, where seats refer to the number of contact-center

agents who handle incoming calls. High-end enterprise contact centers typically include

large banks, telecom operators, large insurance companies, utilities, and other Fortune

500 companies, whose contact centers may handle as many as thousands of incoming

calls or more a day. Enterprises with 200 seats or more have an economic incentive to

invest in contact-center automation due to the high number of incoming calls such

enterprises receive and the corresponding reduction in cost offered by call-automation

solutions. Smaller businesses that receive fewer incoming calls from customers, and thus

require smaller contact centers, do not have the same economic incentive to invest in

contact-center automation due to, among other things, the relatively high start-up cost of

investing in automation technology. As further explained below, the market for ASR

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technology for use on-premises in large, high-end enterprise contract centers constitutes a

distinct product market.

       94.     ASR enterprise software typically comprises three core components: (i)

an ASR engine; (ii) a natural language understanding (“NLU”) engine; and (iii) a

dialogue manager (“DM”). The ASR engine is a software component that allows a

computer to convert speech to text. In the context of call center-automation, this text can

be used within an interactive voice response (“IVR”) application that enables a computer

to respond to commands spoken via telephone. The ASR engine itself comprises two key

elements: a decoder and training data. The decoder is an algorithm that matches spoken

sounds to data in two libraries, known as the Acoustic Model and the Language Model,

respectively. Training data is the data that populates the Acoustic and Language Models,

which is acquired through heavily time-intensive analysis of real-life human speech for a

given language. As a general matter, a perfect decoder with poorly trained models will

perform poorly as an ASR engine. However, a mediocre decoder with well-trained

models will perform adequately. Thus, the availability of well-trained models for any

given language is critical for an ASR engine to function well as to that language.

       95.     Older forms of ASR technology employed a form of speech-enabled

automation known as “directed dialogue,” in which the system dictates to the caller what

voice commands are acceptable, e.g., “If you would like to hear your account balance,

please say ‘balance.’” As a result of recent advances in the field, ASR technology has

come to include NLU, which is a form of technology that extracts meaning out of

unstructured, free-form, spontaneous language such that callers can express themselves

naturally without being limited to predefined commands dictated by the ASR system.

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The NLU engine is a software component that processes text input received from the

caller or text produced by the ASR engine and enables a computer to respond to speech

expressed in natural language. Finally, the DM receives the output of the NLU engine

and determines how to respond to the caller, dynamically adapting to the caller’s spoken

request.

       96.     The market for ASR technology for use on premises within high-end,

large-scale enterprise contact centers (the “ASR Enterprise Software Market”) constitutes

a distinct product market characterized by high barriers to entry. These include, among

other things, the substantial investments of time and resources, including hundreds of

thousands of hours or more of real-life training using large sets of data accumulated from

large-scale contact centers, required to develop sufficiently robust Acoustic and

Language Models for commercial ASR software to function effectively. There is no

substitute technology that provides to large-scale enterprise contact centers the same

function and value with respect to call center automation as ASR Enterprise Software. A

hypothetical monopolist in the ASR Enterprise Software Market would be able to raise

prices for its software profitably over competitive levels.

       97.     Vendors that participate in the ASR Enterprise Software Market, including

Nuance, contract either directly with their enterprise customers or indirectly through the

use of intermediaries known as “resellers,” who may resell the vendor’s complete set of

ASR Enterprise Software components or combine that vendor’s ASR engine with the

reseller’s own proprietary NLU engine and/or DM. Customers in the ASR Enterprise

Market typically solicit bids from ASR Enterprise Software vendors through an RFP

process that culminates in a license to the winning vendor’s ASR Enterprise Software

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that takes the form of a monthly subscription or a one-off perpetual license fee plus

annual software maintenance fees in which the price of the license is based on the

number of channels required by the customer’s system.          Customers separately pay

additional pricing for professional services, such as technical assistance and system

maintenance.

       98.     As explained below, through its aggregation of patent assets and

acquisition of actual and potential competitors, including nascent competitors, in the ASR

Enterprise Software market, Nuance has established a dominant position in that market.

Because of substantial barriers to entry, including but not limited to the time and

investment required to acquire sufficient data to train the Acoustic and Language Models,

for many languages across the world, the Nuance ASR engine is the only ASR engine

that supports the language; as a result, Nuance Enterprise Software, or ASR Enterprise

Software containing a Nuance ASR engine, is the only commercial option in countries

where those languages are dominant. Because of the absence of meaningful competition,

Nuance has been able to maintain high list license prices for its ASR Enterprise Software,

which have effectively remained constant since launch, and to offer customers fewer

discounts from list price than if it had been subject to legitimate competition, which has

meant the net license price to Nuance software has increased over time. Meanwhile,

Nuance has leveraged the fact that customers have few – or, for many languages, zero –

ASR Enterprise Software options in order steadily to increase the price it charges

customers for professional services beyond competitive levels. As a result, the total price

paid by customers for Nuance software licenses and associated professional services

(e.g., technical support) has, in the aggregate, increased to supra-competitive levels due

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to the lack of competitive alternatives.

        Nuance’s Acquisition of Monopoly Power Though the Aggregation of Patent
        Assets and Acquisitions of Competitors

        99.      At the heart of Nuance’s anti-competitive scheme is a calculated strategy,

executed over more than a decade, to acquire more than 50 of its actual or potential

competitors as well as several hundred patents or more from unrelated parties. A brief

history of these acquisitions reveals how they have enabled Nuance to maintain a position

of dominance in the market and to leverage that dominance to block innovative,

competitive ASR technologies from entering and gaining a foothold in the market.

        100.     Nuance, in its present form, was created in 2005 from a merger of

ScanSoft and another entity also named Nuance (“Pre-2005 Nuance”).               After the

transaction, the combined entity was renamed “Nuance Communications, Inc.”

        101.     Pre-2005 Nuance focused on the commercialization of speech-recognition

technology through call-center automation, launching its first commercial product in

1996. At this time through to the early 2000s, Nuance had two principle competitors in

the speech-recognition market: Royal Philips Electronics Speech Processing Telephony

and    Voice     Control,   Dialogue   Systems    (“Philips”)   and   SpeechWorks,     Inc.

(“SpeechWorks”), both of which were formidable innovators of ASR applications, and

offered ASR-related solutions for call-center automation. Upon information and belief,

at this time, Pre-2005 Nuance, Philips and SpeechWorks collectively commanded a near-

100% share of the market for speech-recognition technology designed for call-center

automation for large enterprises.

        102.     ScanSoft was formed in 1999 and focused primarily on desktop imaging

software.      In December 2001, however, ScanSoft acquired Belgian-based speech
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technology company Lernout & Hauspie following the latter’s bankruptcy. As a result of

this acquisition, ScanSoft entered the speech-technology market and began to compete

with Pre-2005 Nuance. In January 2003, ScanSoft acquired Philips, which gave ScanSoft

access to and ownership of substantial additional patents and technologies, as Philips had

itself previously acquired other, smaller voice-recognition firms, including Voice Control

Systems, Pure Speech, Scot Instruments and VPC, along with their intellectual property.

A ScanSoft press release issued at the time described Philips as “a global leader in the

field of speech processing, offering a full line of state-of-the-art products and

technologies” and noted that the transaction gave ScanSoft “significant resources and

market opportunities” to “leverage and expand its current global channel network,”

providing ScanSoft with a “roster of premier partners and customers.”          Paul Ricci,

ScanSoft’s (and, later, Nuance’s) CEO stated that he was “especially enthusiastic” that

the transaction enabled ScanSoft to partner with Philips in, among other things, “patent

assertion.” (October 7, 2002 press release (emphasis added)).

       103.    Later, in August 2003, ScanSoft increased its sizeable ownership of voice-

recognition patent assets, and substantially reduced the competitive playing field, by

acquiring its other major competitor, SpeechWorks. Media coverage at the time of the

transaction described it as part of a “two-year strategy” by ScanSoft to “increase market

share,” and noted that this acquisition alone increased ScanSoft’s intellectual property

portfolio by some 200 patents. (“ScanSoft, SpeechWorks agree to merge,” EE Times,

April 25, 2003). Nuance acquired one of the patents asserted in this case, the ‘688 patent,

through this transaction.

       104.    Between January 2004 and May 2005, ScanSoft acquired six additional

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actual and potential competitors:         LocusDialog, Telelogue, Inc., ART Advanced

Recognitions Technologies, Ltd. (“ART”), Rhetorical Systems, Ltd., Phonetic Systems,

Ltd., and MedRemote, Inc., further allowing it to amass additional patent assets, remove

smaller players from the market, and expand ScanSoft’s reach into other fields, such as

automated medical transcription.

        105.    Just prior to ScanSoft’s merger with pre-2005 Nuance, the two companies

were the only dominant providers of speech-recognition technology. Not surprisingly,

industry analysts and market participants expressed concern that the merger would impair

competition. For example, one commentator noted at the time that “the two companies

have by far the largest market share” and expected that “[p]artners and end-users will . . .

be concerned that licensing costs will increase without competition between the

companies” and that the merger would “certainly eliminate competitive discounts

between the companies.”        (“The Impact of the ScanSoft-Nuance Merger,” Speech

Technology, May 1, 2005)

        106.    After the 2005 merger, the newly formed Nuance continued at an alarming

rate ScanSoft’s strategy to acquire competitors and patent portfolios. Between 2005 and

2018, Nuance entered into 49 publicly-announced transactions through which it acquired

either a direct or potential competitor with most or all of its intellectual property assets, or

a portfolio of patents from such an entity. These included acquisitions of the following

companies that developed and/or commercialized voice recognition-related technology

that competed or potentially competed with Nuance:

                  ACQUIRED ENTITY                                           YEAR
Dictaphone Corporation                                                      2006
Mobile Voice Control                                                        2006

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                   ACQUIRED ENTITY                                     YEAR
Voice Signal Technologies (“Voice Signal”)                             2007
Vocada                                                                 2007
Philips Speech Recognition Systems GMBH (“Philips                      2008
Speech”)
eScription                                                             2008
Harman International Industries speech technology unit                 2009
MacSpeech                                                              2010
iTa P/L                                                                2010
PerSay                                                                 2010
SVOX                                                                   2011
Loquendo                                                               2011
Vlingo                                                                 2011
Transcend Services                                                     2012
Cognition Technologies                                                 2013
VoiceBox/Telisma                                                       2018


       107.    Significantly, in 2008-2009, Nuance also acquired a portfolio of hundreds

of voice-recognition related patents from IBM, including patents asserted in the instant

lawsuit, as well as access to the source code of IBM’s voice-recognition software. These

were followed by additional acquisitions of IBM patents in 2010 and 2013. As a result of

these transactions, Nuance ultimately acquired more than 900 patents from IBM. In

2016, Nuance similarly acquired nearly 1,000 patents from AT&T. Over the same time

period, Nuance acquired more than 1,000 patents from other, smaller third-parties.

       108.    Upon information and belief, Nuance does not practice the vast majority

of the patents it acquired through these transactions. On the contrary, the primary intent

and purpose underpinning these transactions is to enable Nuance to use its vast, acquired

patent portfolio to suppress innovation and prevent others from bringing to the market

technologies that would compete with Nuance’s ASR products. Indeed, commenting

specifically on Nuance’s acquisitions of patent assets from IBM and others, noted speech


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technology-industry expert Roberto Pieraccini stated:

       Unfortunately, the speech industry fell into the deplorable practice of ‘patent
       trolling’ – acquiring patents for the sole purpose of suing smaller companies for
       infringement. The trollers would then force these companies either to pay large
       settlements, to exit the market, or to be acquired for a price well below their real
       valuation.1

As described below, this is exactly the strategy that Nuance has employed to secure its

dominant position in the market.

       109.   The foregoing corporate and intellectual property acquisitions ensured that

Nuance has been able to maintain a market share well above 70% since 2001. For

example, a report published by leading industry analyst Gartner demonstrated that for the

“speech recognition telephony server market,” the combined market shares of the four

leading vendors in 2002 – Nuance, SpeechWorks, ScanSoft and IBM – was

approximately 77%, as reflected below:




1
 Roberto Pieraccini, The Voice in the Machine: Building Computers That Understand
Speech (2012), Ch. 9, n. 19 (emphasis added).


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       110.    Ultimately, through its acquisition strategy, Nuance was able to acquire or

control all of the relevant assets and intellectual property of its three largest

competitors. But it did not stop there; it also ultimately came to own or control smaller

companies who represented a potential future competitive threat after 2002.           For

example, the fifth largest vendor in 2002, Telisma, whose market share was only 4.8%,

was later acquired by VoiceBox, which Nuance ultimately acquired in 2018. Nuance

also later acquired other competitors who had even smaller market shares in 2002 (e.g.,

Loquendo, with 2.5%) as well as AT&T and IBM patents and source code relating to

speech recognition, which patents are among those asserted in the instant case. By 2007,

Nuance itself boasted that its share of the “market for speech-enabled call centers” was

75%, as reported in the Wall Street Journal.          (“Recognizing Nuance,” Wall Street

Journal, July 11, 2007.) Other sources estimate that by 2010, Nuance controlled more

than 80 percent of that market as a result of its acquisitions.2

       111.    Today, Nuance claims that 85% of Fortune 100 companies use Nuance

software and technology, while most other competitors in the ASR Enterprise Software

Market individually maintain a mere fraction of that market share. On information and

belief, a speech automation industry analyst, recently undertook a study of the number of

enterprise call center telephone ports that deploy ASR technology and concluded that the

speech industry has one supplier (Nuance Communications) that provides over 80% of

the speech recognition ports, and further noted that this dominance has led to a situation

where there is no real competition in the base technology area and that the base

2
 Roberto Pieraccini, The Voice in the Machine: Building Computers That Understand
Speech (2012) at 260.


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technology price is high and unlikely to decrease so long as this situation continues.

       112.    Nuance also owns a patent portfolio comprising more than 5,300 patents at

least 2,800 of which it purchased from third parties, making it the owner of one of the

largest speech-recognition patent portfolios in the world. Indeed, in its filings with the

U.S. Securities and Exchange Commission, Nuance admits that “critical” to its ability to

maintain its “market-leading position” are the thousands of patents and patent

applications it has “purchased” or otherwise obtained. (Nuance 2010 10-k Report) And,

in its recent publication, “Technology Trends 2019: Artificial Intelligence,” the World

Intellectual Property Organization identifies Nuance as the most litigious patent litigation

plaintiff in the world with respect to speech-processing technology. As described further

below, Nuance has executed its strategy to acquire actual and potential competitors

through a calculated scheme of threatening to assert and/or actually asserting baseless

patent infringement litigation using its massive portfolio of acquired patents to drive its

competitors out of the market and/or coerce them into being acquired by Nuance.

       113.    Nuance’s    extremely aggressive      acquisition   history has     attracted

considerable attention in the media. For example, in a 2009 article entitled, “Don’t Beat

Your Competitors, Buy Them,” CBS’s Moneywatch3 observed the following:




3
 Steve Tobak, “Don’t Beat Your Competitors, Buy Them,” CBS News, April 6, 2009,
available at https://www.cbsnews.com/news/dont-beat-your-competitors-buy-them/, last
accessed Nov. 7, 2019.


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       114.    As described above, Nuance continued this strategy well after 2009,

further increasing its grip on the market and enabling it to further extract monopoly-level

profits from the ASR Enterprise Market.          Industry commentators, including CBS

Moneywatch, also point out that Nuance’s acquisitions did not result in efficiencies

and/or synergies that ultimately meant lower prices for its software. To the contrary, with

the reduction in competition, Nuance was able to maintain supra-competitive prices for

its software, and was able to do so without innovating that software, which it would have

been forced to do had it had been subject to legitimate competition. For example, while

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between 1994 and 2005, Pre-2005 Nuance introduced a major new release relating to its

speech recognition software on average approximately once per year, since 2005, Nuance

has issued only three new releases of its software – an average of approximately one new

software release ever five years. Nor, on information and belief, does Nuance practice

the vast majority of speech automation-related innovations to which it has gained access

through its purchases of competitors and/or patents.

       115.    Nuance’s acquisition strategy has also attracted the attention of U.S.

antitrust regulators. On information and belief, the Antitrust Division of the Department

of Justice (“DOJ”) has investigated or informally objected to at least two transactions

involving Nuance. In 2008, the DOJ launched an investigation as to whether Nuance’s

acquisition of Philips Speech created a monopoly in the medical transcription sector,

which, on information and belief, was prompted in part due to complaints by smaller

competitors regarding Nuance’s history of acquisition and patent-assertion conduct.

Later, in 2009, the DOJ raised concerns about whether Nuance’s proposed acquisition of

Multimodal Technologies, Inc. (“MModal”) would have substantially lessened

competition in the market for “voice recognition engines.” (HSR Annual Report, Fiscal

Year 2009, at 7, n.15). Upon information and belief, Nuance abandoned the transaction

because of the DOJ’s concerns. (Id.)

       116.     Nuance’s acquisitions of its competitors have been preceded by assertions

of patent lawsuits, instituted without regard to the merits of the claims. that resulted in the

defendant capitulating to Nuance’s aggressive acquisition strategy.       As is evident from

the publicly-available pleadings in those cases, Nuance and/or ScanSoft has engaged in a

campaign to file patent infringement lawsuits in bad faith in order to (a) cause economic

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harm to the named defendants, which typically are much smaller competitors of Nuance,

by harming their business relationships and reputations, and causing them to incur

significant legal expenses, and thereby (b) to exert improper leverage over those

defendants as a prelude to acquiring them at a discounted price.

       117.    For example, in 2004, ScanSoft commenced patent litigations against

ART and Voice Signal, two speech-recognition technology competitors that Nuance

would go on to acquire. The filings in the ART case reveal that ScanSoft sued ART

shortly after ART rejected an acquisition proposal by ScanSoft.         ART Advanced

Recognition Techs., Inc.’s Opening Mem. of Law in Supp. of Its Mot. for Summ. J.,

ScanSoft, Inc. v. Art Advanced Recognition Techns., Inc., No. 1:04-cv-10840 (D. Mass

Aug 17, 2004), ECF No. 21 at 12. Fewer than seven months after ScanSoft filed suit,

ART capitulated and was acquired by the newly-formed Nuance. ScanSoft engaged in

the same conduct as to Voice Signal. In 2004, ScanSoft offered to purchase Voice

Signal. Only days after Voice Signal rejected its offer, ScanSoft commenced an action in

this Court accusing Voice Signal of infringing one of its voice-recognition related

patents. When Voice Signal rejected a subsequent acquisition proposal by the newly

formed Nuance in 2006, Nuance filed another patent suit against Voice Signal, claiming

that Voice Signal infringed three additional patents. Nuance’s strategy worked, as Voice

Signal capitulated in 2007, just one year after Nuance commenced its second lawsuit.

       118.    Similarly, prior to its acquisition of competitor Vlingo in 2011, Nuance

sued Vlingo for patent infringement. Upon information and belief, these lawsuits were

commenced after Vlingo refused to acquiesce to a demand from Nuance’s CEO to be

acquired or be sued.    Indeed, as reported in the New York Times, Nuance’s CEO

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threatened Vlingo with the statement that, “I have patents that can prevent you from

practicing in this market.” (“The Patent Used As Sword,” New York Times, October 7,

2012). Nuance ultimately filed multiple lawsuits against Vlingo, each of which it lost or

settled. Although it was successful in deflecting Nuance’s baseless patent infringement

claims, upon information and belief, Vlingo ultimately succumbed and agreed to be

acquired by Nuance because of the substantial revenues it expended in defending itself in

those lawsuits. (Id.) Just prior to the acquisition, however, Vlingo filed its own lawsuit

against Nuance alleging, among other things, that Nuance had improperly interfered with

Vlingo’s efforts to negotiate commercial agreements with Nokia and AT&T and had

attempted to bribe three Vlingo executives by offering them $5 million each if they could

convince their board of directors to sell Vlingo to Nuance.

       119.    More recently, in 2017, after the DOJ had blocked its attempt to acquire

MModal, Nuance sued MModal for patent infringement. In that litigation, MModal

asserted counterclaims against Nuance, including counterclaims alleging that Nuance’s

claims of patent infringement were baseless and that, in connection with its prior offers to

acquire MModal, Nuance threatened that if MModal did not agree to sell to Nuance,

“Nuance would do what they do,” that is, file a patent infringement lawsuit against

MModal to pressure a sale. Def.’s Answer to Pl. Nuance Commc’ns, Inc.’s Compl. for

Patent Infringement and Countercls., Nuance Commc’ns, Inc. v. MModal LLC, et al., No.

1:17-cv-01484-UPA-MPT (D. Del. Dec. 11, 2017), ECF No. 22 at 30. MModal further

alleged that, on the same day that Nuance filed its patent infringement lawsuit against

MModal, Nuance initiated a campaign to inform MModal’s customers that MModal

infringed Nuance’s patents in order to induce them to terminate their relationships with

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MModal.       In December 2018, the District of Delaware denied Nuance’s motion to

dismiss MModal’s counterclaims, which presently remain pending in the case.

       120.     Since 2001, Nuance has commenced at least seventeen patent litigations

worldwide against eight of its competitors, not including the present suit. Only two of

the seventeen cases went to trial, and in both instances a jury determined that Nuance’s

patents were invalid and/or not infringed.

       Nuance’s Relationship With Omilia NLS and/or its Affiliates (“Omilia”)
       Prior to the Instant Lawsuit and its Efforts to Foreclose Omilia from
       Competing in the Market

       121.     Omilia provides a proprietary ASR software system for use in large

enterprise call centers. As such, it is a direct competitor of Nuance in the ASR Enterprise

Software Market.

       122.     From 2007 until 2013, Omilia was a reseller of Nuance ASR technology,

which it incorporated into call-center automation solutions using its own proprietary

NLU engine and DM.

       123.     In April 2010, while still a Nuance reseller, Omilia Managing Director

Dimitris Vassos contacted Nuance’s CEO, Paul Ricci, to propose that Omilia and Nuance

explore the possibility of a commercial partnership beyond a reseller arrangement. This

outreach culminated in a meeting between Mr. Vassos and Peter MacKinnon, who at the

time was General Manager of Nuance Europe, at Omilia offices in Athens in January

2011. However, no commercial partnership, beyond the parties’ then-existing reseller

relationship, emerged from these efforts.         During Mr. Vassos’s meeting with Mr.

MacKinnon, and through related email exchanges, Mr. Vassos provided Nuance with

documents that described Omilia proprietary DM and NLU system, known as DiaManT.

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This is the same system that Nuance claims infringes the patents asserted in this case.

The basic architecture and key features of DiaManT have not changed since Mr. Vassos’s

discussions with Nuance in 2010 and 2011.

       124.    Subsequently, in 2012, after having obtained information regarding Omilia

NLS’ DiaManT system (as well as confidential information relating to the commercial

success of DiaManT), Nuance forced Omilia to accept an amendment of its Reseller

Agreement, which gave to Nuance sole approval authority as to any potential NLU

projects, and effectively enabled Nuance to require Omilia to sell the full Nuance stack of

software components and prevented Omilia from selling Omilia NLS’ own NLU solution

integrated with Nuance ASR.        Nuance further required Omilia to bundle Nuance

professional services with its offerings to customers.      Upon information and belief,

Nuance has implemented the same amendments with other resellers of Nuance software,

thus further enabling it to leverage its dominant position in the market for ASR solutions

in order to gain monopoly profits from the sale of professional services to customers.

       125.    In October 2013, following Omilia NLS’ continued success in European

markets and elsewhere using its DiaManT system, Nuance required Omilia, under the

pretense of a global partner review, to disclose its full list of customers and the projects

on which Omilia was actively working. Omilia disclosed the requested information to

representatives of Nuance on October 9, 2013. At the time, Nuance represented that it

would maintain the customer list in confidence. Immediately following this meeting,

however, Nuance embarked on a systematic campaign to contact Omilia NLS’ current

and prospective customers to promote Nuance’s products to them, thereby breaching its

representation of confidentiality and interfering with Omilia NLS’ existing and

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prospective economic relationships with customers.

       126.   Specifically, on October 10, 2013, one day after the disclosure described

above, representatives from Nuance, together with representatives from VoiceWeb, a

Nuance reseller and direct competitor of Omilia NLS in Greece, met with Omilia NLS’

customer Piraeus Direct Services (“Piraeus”) in Athens and, among other things,

discussed confidential information pertaining to Omilia NLS’ relationship with and

provision of services to Piraeus. On information and belief, VoiceWeb informed Piraeus

that Nuance intended to terminate Omilia NLS’ Reseller contract and that, accordingly,

Omilia would no longer be able to provide Nuance software to Piraeus as part of an

Omilia NLU solution.

       127.   Nuance also contacted Omilia partner Incom and informed it that Nuance

was aware of three potential NLU-related projects in the Ukraine for Privat Bank, MTS

Ukraine and Alfa Bank. Each of these projects were identified in the information that

Omilia had disclosed to Nuance, in confidence, on October 9, 2013. Upon information

and belief, Nuance urged Incom to compete for the business with an all-Nuance solution

rather than an Omilia NLU solution.

       128.   On October 31, 2013, Nuance formally served Omilia with a 90-day

notice to terminate the Reseller Agreement. Nuance did not provide Omilia with its

rationale for terminating the Reseller Agreement. Upon information and belief, the

primary reason for Nuance’s termination was to impair Omilia NLS’ ability to compete

with Nuance using Omilia NLS’ proprietary NLU solution, which was otherwise not

prohibited by the Reseller Agreement. After termination of the Reseller Agreement,

Omilia ceased using the Nuance ASR in its systems and instead implemented a

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proprietary Omilia NLS ASR in its NLU solutions. Omilia NLS was able to develop an

ASR through its years of experience in the ASR Enterprise Software Market, which

included developing the acoustic and language models required to power its own ASR

software component.

       129.    Upon information and belief, on November 18, 2013, prior to the expiry of

the 90-day notice of termination period, Nuance contacted Omilia customer ENEL

Romania (“ENEL”) and informed it that Nuance intended to terminate its Reseller

Agreement with Omilia and that Omilia would no longer be able to provide Nuance

software to ENEL Romania as part of an NLU solution. Upon information and belief, as

a result of this communication, ENEL elected not to continue its relationship with

Omilia.

       130.    On January 19, 2018, long after the termination of the Reseller

Agreement, Nuance’s legal counsel sent a letter to Omilia demanding that it submit to an

audit in respect of every transaction with and/or royalty payment it had received from any

of its customer since the inception of the Reseller Agreement. Because there was no

support for such an audit in the Reseller Agreement or other agreements between Nuance

and Omilia, Omilia refused.      Upon information and belief, Nuance’s demand was

objectively baseless and made in bad faith for the sole purpose of gathering confidential

information regarding Omilia NLS’ customers that Nuance could exploit to harm Omilia

NLS’ business relationships and prevent Omilia from competing with Nuance.

       131.    On September 26, 2018, more than seven years after Mr. Vassos had

provided to Nuance information about the DiaManT system, Nuance sent Omilia a letter

asserting that Omilia NLS’ systems infringe certain patents owned or licensed by

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Nuance, specifically, U.S. Patent Nos. 6,662,157 (the “’157 patent”), 8,532,993,

7,505,905, and 8,379,804. Nuance does not assert the ’157 patent in this case. In its

September 26, 2018 letter, Nuance did not identify the ’925, ’839, ’534, ’532 or ’688

patents, which it now claims Omilia NLS infringes.            According to assignment

information recorded at the U.S. Patent and Trademark Office, Nuance executed the

assignments for three of the patents it asserts here, the ’804, ’534 and ’993 patents, on

March 29, 2013, March 29, 2013, and December 14, 2016, respectively, after 2010, when

Mr. Vassos provided Nuance with detailed information regarding the Omilia systems.

       132.    On information and belief, before it sent Omilia the September 26, 2018

letter, and several months before it commenced the instant lawsuit, Nuance represented to

Omilia NLS’ customers and/or potential customers and resellers in the U.S. and Canada,

including Connex, a reseller of Omilia products, and potential customers that it had

brought a lawsuit against Omilia because the DiaManT system infringes certain of

Nuance’s U.S. patents. On information and belief, Nuance further suggested that those

potential customers and resellers should not utilize the Omilia solution because it

allegedly infringes Nuance-owned patents and offered to Omilia NLS’ resellers the lure

of additional business from Nuance, including in the form of downstream customers, if

they agreed to drop Omilia as a supplier.

       133.      On information and belief, prior to the commencement of this lawsuit,

Omilia lost several commercial opportunities in the United States and North America,

including potential customers and commercial partners, as a result of Nuance’s

representation that Omilia infringes Nuance patents. Those allegations, as explained

below, are objectively baseless. Moreover, its representation that Nuance had sued

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Omilia for patent infringement in the U.S. was false at the time. On information and

belief, Nuance’s false and defamatory representations have resulted in the loss to Omilia

of hundreds of millions of dollars of potential revenue from the use of Omilia NLS’

systems in the United States and/or North America. For example, Omilia NLS entered

into a confidential development agreement to provide development services to a company

headquartered in the Chicago area. On information and belief, Nuance’s baseless

representations of patent infringement and the filing of this lawsuit caused this customer

to elect to terminate entirely its relationship with Omilia, which alone has resulted in a

loss to Omilia of millions of dollars of future annual revenue.

       134.    Nuance’s false and objectively baseless representations, which were filed

without regard to the merits or the patens or the claim of patent infringement, have also

harmed Omilia NLS’ relations with existing customers. Among other things, as a direct

result of Nuance’s representations, Omilia NLS was forced to offer existing customers

lower prices than it otherwise would have due to its customers’ vendor risk management

policies and the risk management-related provisions in Omilia NLS’ agreements with its

customers. Such price discounts have ranged from 50% to as much as 70%, and have

amounted to an overall loss to Omilia NLS of at least several million dollars or more. In

the aggregate, Nuance’s unfair and anticompetitive conduct has caused Omilia NLS to

suffer economic injury in the form of hundreds of millions of dollars or more of lost

profits and, on information and belief, has been intended to drive Omilia NLS out of the

ASR Enterprise Software Market.

       Nuance’s Objectively Baseless Assertion of Patent Infringement Claims in
       the Instant Lawsuit

       135.    Upon information and belief, prior to the filing of this lawsuit, Nuance
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knew or should have known, based on information provided by Mr. Vassos to Nuance in

2010-11, as well as from publicly-available information describing the Omilia systems,

that the accused Omilia NLS systems do not infringe the asserted patents.

       136.    For example, the materials that Mr. Vassos provided to Nuance in 2011

indicate that the accused DiaManT system does not infringe the ’839 and ’534 patents.

Among other things, the ’839 patent requires that a system perform the steps of (i)

converting text-based user interactions into a format consumable by a voice server and

(ii) converting output from the voice server into text format. The materials provided to

Nuance show that DiaManT is not a voice server, and that it is “channel independent,”

meaning that it does not perform the conversion steps claimed by the ’839 patent. Those

materials also indicate that DiaManT does not use media files with metadata containers

that include speech prompts related to content stored in the media file, as claimed in the

’534 patent.

       137.    Similarly, publicly-available materials relating to Omilia NLS’ systems

(see, e.g., https://omilia.com/technology/ ) to which Nuance had access prior to filing this

action indicate that those systems do not use “adaptation algorithms” “without

supervision,” as required by the ’905 patent, or adapt their implemented acoustic models

by using “domain-specific” data, as required by the ’925. Rather, in Omilia NLS’

systems, the language models are manually trained and re-trained by human linguists.

       138.    The same source indicates that Omilia NLS’ proprietary ASR system

performs speech recognition through the use of a single custom-trained language model,

which may include words from different languages, but it does not use speech-

recognition results from a plurality of languages, as required by the claims of the ’532

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patent, or determine a common set of features for subword units in two languages, as

claimed in the ’688 patent.

       139.    Finally, each asserted claim of the ’993 patent requires that the accused

system perform the step of “incorporating the pronunciation probabilities into the

language model.” Publicly available materials describing the Omilia system, including

but not limited to a 2018 paper published by Omilia engineers (available at

https://omilia.com/site-assets/mizera2018.pdf), show that the ASR platform used in

Omilia NLS’ NLU system addresses pronunciation variability without incorporating

pronunciation probabilities into the ASR’s language model.

       140.    Prior to the filing of this lawsuit, Nuance also knew or should have known

that the asserted patents are invalid. For example, as alleged above at paragraphs 55 to

59, the claims of the ‘804 patent are invalid in view of, among other things, the following

prior art: the Paterik reference, and VoiceXML 2.0 and CCXML, both of which are open

industry standards, and references describing IBM’s WebSphere software.              Upon

information and belief, Nuance was aware of the relevant prior art when it asserted the

‘804 patent. For example, Nuance has been on the board of the VoiceXML Forum, the

organization responsible for setting the VoiceXML standard, since 2011, at which time

its platform was among the first to achieve certification under the VoiceXML 2.1

standard. Similarly, Nuance has had access to the source code of IBM’s WebSphere

since 2009, when it also acquire IBM patents relating to voice-recognition technology.

Finally, Nuance was aware of the Paterik reference by at least 2014, as it was cited by the

examiner during the prosecution of U.S. Patent No. 8,768,711 (the “’711 patent”),

assigned to Nuance, and listed on the face of the ‘711 patent, which issued on July 1,

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2014. As such, Nuance knew or should have been aware of the invalidating prior art

when it asserted the ‘804 patent in this case.

                                         COUNT 17

              (Monopolization in Violation of Section 2 of the Sherman Act)

       141.     Omilia NLS repeats and re-alleges paragraphs 1 through 140 of these

counterclaims as if fully set forth herein.

       142.     This claim arises under Section 2 of the Sherman Act, 15 U.S.C. § 2 and

under the Clayton Act, 15 U.S.C. §§ 15 and 26.

       143.     The relevant product market for the following counterclaims is the ASR

Enterprise Software Market.

       144.     The relevant geographic market is the United States.

       145.     Nuance has been a dominant vendor in the ASR Enterprise Software

Market for over 20 years and possesses monopoly and market power in that market.

Direct evidence of Nuance’s market power includes evidence of Nuance’s ability to raise

beyond competitive levels the license fee of its ASR Enterprise Software and/or

associated professional services fees. Nuance’s market power is also established through

circumstantial evidence, including Nuance’s share of the relevant market, which has

ranged from 60% to as much as 85% over the past twenty years. Because acquiring the

data required to train an ASR system for a language is an extremely expensive and time-

consuming process, there are massive barriers to entry for any potentially new entrants to

the ASR Enterprise Software Market who might offer a competitive alternative to Nuance

ASR technology. Indeed, Nuance’s own Annual Report states “[o]ur technologies are

based on complex algorithms that require extensive amounts of acoustic and language

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models, and recognition and understanding techniques.         A significant investment in

capital and time would be necessary to replicate our current capabilities.” Nuance

Communications, Inc., Annual Report (Form 10-K) (Nov. 26, 2019) (emphasis added).

Nuance’s scheme has exploited such barriers to entry and ensured that Nuance commands

monopoly power in the ASR Enterprise Software Market.

        146.    As alleged herein, Nuance’s anti-competitive scheme has included more

than 50 acquisitions of competitors or potential competitors as well as thousands of

patents or more from unrelated third parties.

        147.    Nuance’s scheme to acquire and exclude competitors through, among

other things, threats and intimidation, and to amass thousands of patents that were not the

result of Nuance research, development or innovation, constitutes a willful acquisition of

monopoly power that harms competition and reduces innovation. Nuance’s scheme

includes a specific intent to monopolize the relevant market and harm competition. On

information and belief, this pattern of knowing anticompetitive behavior continues with

Nuance’s objectively baseless assertion of its purported patent rights against Omilia NLS

in the instant action.

        148.    Nuance’s abuse of its market power and specific intent to monopolize is

further evidenced by its interactions with Omilia NLS, which has included, among other

things, conduct intended to pressure Omilia NLS out of, or otherwise prevent it from

gaining market share in, the ASR Enterprise Software Market, which is furthered by its

objectively baseless claims of patent infringement in this case.

        149.    Nuance’s continued actions, including this suit, has caused Omilia NLS to

suffer antitrust injury by harming it in its business and property, including by irreparably

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harming Omilia NLS’ relations with its existing and potential customers and resellers,

foreclosing Omilia NLS from entering the ASR Enterprise Software Market, and causing

it to expend substantial resources to defend itself in the patent lawsuit, which likely far

exceed its current revenues.

        150.     There are no procompetitive justifications for Nuance’s conduct and/or the

anticompetitive effects of Nuance’s conduct far outweigh any putative procompetitive

justification.

        151.     Omilia NLS is entitled to a judgment from this Court for all damages

incurred by Nuance’s antitrust violations, including treble damages. Omilia NLS is also

entitled to injunctive relief requiring Nuance refrain from its continued anticompetitive

conduct, including any further assertion of baseless patent infringement claims against

Omilia NLS and/or interference with Omilia NLS’ relationships with existing or potential

customers and resellers.

                                              COUNT 18

                             (Violation of Section 7 of the Clayton Act)

        152.     Omilia NLS incorporates by reference paragraphs 1 through 151 of these

counterclaims as if fully set forth herein.

        153.     Section 7 of the Clayton Act provides that “[n]o person . . . shall acquire . .

. assets . . . where . . . the effect of such acquisition . . . may be substantially to lessen

competition, or to tend to create a monopoly.” 15 U.S.C. § 18.

        154.     Through its acquisitions of competitors and patent assets, Nuance has

obtained a monopoly in the ASR Enterprise Software Market.

        155.     Using patent and other assets it has acquired through acquisitions, Nuance

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has engaged in conduct, including the assertion of baseless patent infringement lawsuits

and defamatory representations to customers of actual and potential competitors,

including Omilia NLS that has had the effect of substantially lessening competition in the

ASR Enterprise Software Market.

       156.    Nuance’s conduct as alleged above has directly and proximately impeded

Omilia NLS from competing in the ASR Enterprise Software Market and has caused

Omilia NLS to lose customers and potential customers, all to the damage of Omilia NLS’

business and property.

                                              COUNT 19

                               (Common Law Unfair Competition)

       157.    Omilia NLS repeats and re-alleges paragraphs 1 through 156 of these

counterclaims as if fully set forth herein.

       158.    Nuance’s conduct described above, including but not limited to its

disparagement of Omilia NLS through unfounded accusations and false representations

of patent infringement disseminated to Omilia NLS’ existing and potential customers and

resellers, and in the marketplace more generally, constitute acts of unfair competition that

have interfered with or threaten to interfere with Omilia NLS’ ability to conduct its

business, including its ability to establish or maintain its customer and reseller

relationships, and has caused Omilia NLS to suffer damages, including attorneys’ fees

and expenses incurred in defending and asserting counterclaims in this action.

                                               COUNT 20

                         (Tortious Interference with Contractual Relations)

       159.    Omilia NLS repeats and re-alleges paragraphs 1 through 158 of these
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counterclaims as if fully set forth herein.

       160.    As alleged above, Omilia NLS entered into valid contractual relationships

with Connex and other customers and resellers.

       161.    With full knowledge of the existence of those contracts, Nuance

intentionally informed Connex, other resellers and Omilia NLS customers of the instant

lawsuit. On information and belief, Nuance informed Connex, other resellers and Omilia

NLS customers of the lawsuit in an effort to induce them to breach their contractual

obligations and instead contract with Nuance to perform the services under the contracts.

       162.    Nuance’s actions and conduct in attempting to induce Connex, other

resellers and Omilia NLS customers to breach their contracts with Omilia NLS were

improper in motive and means, including but not limited to, Nuance’s misrepresentation

that Nuance had filed suit against Omilia NLS for patent infringement and that Omilia

NLS’ products infringe Nuance’s patents, when in fact the lawsuit had not yet been filed

and Nuance’s claims of infringement are objectively baseless.

       163.    As a direct and proximate result of Nuance’s actions, Omilia NLS suffered

substantial economic damages as alleged above.

                                              COUNT 20

                  (Tortious Interference with Advantageous Business Relations)

       164.    Omilia NLS repeats and re-alleges paragraphs 1 through 163 of these

counterclaims as if fully set forth herein.

       165.    Omilia NLS has an advantageous business relationship with TD Bank

such that Omilia NLS and TD Bank are in active negotiations to deploy Omilia NLS’

technology in TD Bank’s services. The negotiations have progressed such that a draft

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contract is in review.

       166.    On information and belief, Nuance had full knowledge of Omilia NLS’

negotiations with TD Bank. Nuance informed TD Bank of the instant lawsuit in an effort

to induce TD Bank to forgo a contract with Omilia NLS and instead contract with

Nuance.

       167.    Nuance’s actions and conduct in attempting to induce TD Bank to contract

with Nuance was improper in motive and means, including but not limited to, the fact

that Nuance’s actions were an attempt to harm Omilia NLS financially such that Nuance

may foreclose Omilia NLS from the US and Canada Markets.

       168.    As a direct and proximate result of Nuance’s actions, Omilia NLS suffered

substantial economic damages as alleged above.




                                PRAYER FOR RELIEF

WHEREFORE, Omilia NLS prays for judgment as follows:

       A.      Dismissal of the Complaint in its entirety with prejudice;

       B.      Denial of all relief sought by Plaintiff and Counterclaim-Defendant

               Nuance;

       C.      A declaration that Omilia NLS has not infringed and does not infringe any

               valid and enforceable claim of the ’905 Patent, the ’993 Patent, the ’839

               Patent, the ’534 Patent, the ’804 Patent, the ’532 Patent, the ’688 Patent,

               and/or the ’925 Patent;




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        D.      A declaration that the ’905 Patent, the ’993 Patent, the ’839 Patent, the

                ’534 Patent, the ’804 Patent, the ’532 Patent, the ’688 Patent, or the ’925

                Patent are invalid and unenforceable.

        E.      An entry of judgment against Nuance under Sherman Act § 2, including

                an award to Omilia NLS of treble damages attributable to Nuance’s

                antitrust violations;

        F.      An injunction ordering Nuance to cease its unlawful anticompetitive and

                exclusionary conduct;

        G.      An award of reasonable attorney’s fees, costs, and expenses incurred by

                Omilia NLS in this action as the prevailing party; and

        H.      Such other and further relief as this Court may deem just and proper.



                                        JURY DEMAND

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Omilia NLS requests

a trial by jury of any issues so triable.




Dated: November 27, 2019
                                              Respectfully Submitted,




                                              __/s/ Kevin C. Adam________________
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                            CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to

electronic service are being served on November 27, 2019, with a copy of this document

via the Court’s CM/ECF system per Local Rule CV-5.4 (c). Any other counsel of record

will be served by First Class U.S. Mail on this same date.

                                             /s/ Kevin C. Adam
                                                     Kevin C. Adam




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